                              NO. 07-10-00433-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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JANUARY 27, 2011
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                         CARMEX AUTO SALES, APPELLANT
                                       
                                      v.
                                       
                 EUSEBIO RODRIGUEZ AND ESTELA CANEZ, APPELLEE 
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               FROM THE 84TH DISTRICT COURT OF HUTCHINSON COUNTY;
                                       
                 NO. 38,083; HONORABLE WILLIAM D. SMITH, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                             ON MOTION TO DISMISS
                                       
Appellant, Chriscella Mariscal d/b/a Carmex Auto Sales, has filed a motion to dismiss this appeal because he no longer desires to pursue it.  No decision of this Court having been delivered to date, we grant the motion.  Accordingly, the appeal is dismissed.  See Tex. R. App. P. 42.1(a)(1).  All costs related to this appeal are assessed against appellant.  See Tex. R. App. P. 42.1(d).  If dismissal will prevent appellees from seeking relief to which they would otherwise be entitled, the Court directs appellees to file a timely motion for rehearing.  No motion for rehearing from appellant will be entertained.
								Mackey K. Hancock
									Justice
